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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 RICHARD COOEY, et al.,

                Plaintiff,

         v.                                           Case No. 2:04-cv-1156
                                                      JUDGE GREGORY L. FROST
 TED STRICKLAND, et al.,                              Magistrate Judge Mark R. Abel

                Defendants.

                                     OPINION AND ORDER

         This matter is before the Court for consideration of Defendants’ Motion to Dismiss (Doc.

 # 279), Plaintiff Jeffrey Hill’s memorandum in opposition (Doc. # 317), and Defendants’ reply

 memorandum (Doc. # 330). For the reasons that follow, this Court finds the motion well taken.

                                          I. Background

         On March 2, 2007, the Sixth Circuit issued the decision of Cooey v. Strickland, 479 F.3d

 412 (6th Cir. 2007), that, among other things, directed this Court to dismiss Plaintiff Richard

 Cooey’s 42 U.S.C. § 1983 complaint with prejudice as barred by the statute of limitations.

 Pursuant to the June 12, 2008 mandate, which this Court finally received on July 3, 2008 (Doc. #

 276), this Court issued a July 7, 2008 order that dismissed Plaintiff Richard Cooey’s § 1983

 complaint with prejudice as time-barred, denied without prejudice a premature motion to dismiss

 that Defendants had filed on June 13, 2008, and directed Defendants to file any motions to

 dismiss other intervenor-plaintiffs, addressing specifically whether any other complaints were

 untimely under the statute-of-limitations ruling that the Sixth Circuit had announced. (Doc. #

 277.)

         In Cooey v. Strickland, the Sixth Circuit reversed the judgment of this Court that Richard
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 Cooey had timely filed his 42 U.S.C. § 1983 complaint challenging multiple facets of the lethal

 injection protocol by which the State of Ohio intended to execute him. In so doing, the Sixth

 Circuit remarked that the two-year statute of limitations period begins to run when the plaintiff

 knows or has reason to know that the act providing the basis of his injury has occurred. Cooey,

 479 F.3d at 416. The Sixth Circuit went on to announce that, “since the ‘date’ the lethal

 injection protocol is imposed is infeasible, it stands to reason that the next most appropriate

 accrual date should mirror that found in the AEDPA: upon conclusion of direct review in the

 state court or the expiration of time for seeking such review.” Id. at 421-22. Thus, the Sixth

 Circuit held that such claims begin to accrue upon conclusion of direct review in the state courts

 and when the plaintiff knows or has reason to know about the act providing the basis of his or

 her injury. As to that latter condition--when the plaintiff knows or has reason to know about the

 act providing the basis of his injury--the Sixth Circuit offered several possible dates: either when

 Ohio adopted lethal injection as a method of execution in 1993 or when Ohio made it the

 exclusive method of execution in 2001. Id. at 422. The Sixth Circuit did not resolve that

 question “because even under the later date, 2001, Cooey’s claim exceeds the two-year statute of

 limitations deadline because his claim was not filed until December 8, 2004.” Id.

        Seizing on the statute of limitations loosely defined by the Sixth Circuit in Cooey,

 Defendants now argue that Intervenor-Plaintiff Hill’s § 1983 complaint is untimely. Defendants

 point out that the Sixth Circuit determined that a two-year statute of limitations applied to § 1983

 claims and that the cause of action accrues with the event that should have alerted the typical lay

 person to protect his or her rights. In so holding, according to Defendants, “[t]he Sixth Circuit

 explicitly rejected Cooey’s contention that his claim did not accrue until he had actual and


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 detailed knowledge of Ohio’s procedures for executing him” and concluded that his claim

 accrued at the latest when Cooey knew or should have known about the protocol, based on

 reasonable inquiry. (Doc. # 279 at 15.) The Sixth Circuit appears to have defined that “event”

 as December 2001 at the latest, when Ohio made lethal injection its exclusive method of

 execution and information about the protocol was available upon request. According to

 Defendants, “[t]he Sixth Circuit then held generally that for the purposes of the two-year statute

 of limitations, a prisoner’s claim that his execution will be carried out in violation of the Eighth

 Amendment accrues upon conclusion in state court of the direct review of the prisoner’s

 conviction and sentence, or the expiration of the time for seeking such review.” Id.

        Against this backdrop, Defendants offer the following relevant dates. Hill was convicted

 and sentenced to death in 1992. The Ohio Court of Appeals affirmed the judgment against him

 in 1993, the Ohio Supreme Court affirmed the Ohio Court of Appeals’ decision in 1995, and the

 United States Supreme Court denied certiorari in 1996. Hill’s unsuccessful efforts to obtain

 postconviction relief concluded in 1998. Hill then filed a motion to intervene in the above-styled

 action on December 11, 2005, which this Court granted on January 9, 2006. On April 28, 2006,

 this Court issued an order granting Hill’s April 14, 2006 motion for a preliminary injunction

 staying his execution.

        The crux of Defendants’ argument is that because Hill’s direct appeal concluded before

 Ohio mandated lethal injection as its exclusive method of execution in December 2001, and

 because a condemned prisoner in Ohio had ample information to alert him or her to a potential

 Eighth Amendment violation by that time, “Hill could and should have brought his claim at the

 latest in December of 2001[.]” (Doc. # 279, at 2.) Under Defendants’ interpretation of the


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 statute of limitations, Hill’s December 11, 2004 motion to intervene was three years late.1

        Hill offers several arguments in response. First, Hill argues that the Sixth Circuit’s

 Cooey v. Strickland decision is not binding on him. Second, Hill asserts that the Sixth Circuit in

 Cooey essentially adopted the statute of limitations set forth in the Antiterrorism and Effective

 Death Penalty Act (“AEDPA”), 28 U.S.C. § 2244(d)(1) and that under that statute of limitations,

 his complaint is actually timely pursuant to three alternative accrual dates set forth in §§

 2244(d)(1)(B)-(D). Hill’s third argument is that even assuming his complaint is somehow

 untimely, he is entitled to equitable tolling. Fourth, Hill argues that he is entitled to conduct

 factual development to prove that his complaint is not time-barred. Finally, Hill argues that the

 Sixth Circuit’s Cooey decision was wrongly decided.

                                            II. Discussion

        A. Standard Involved

        Defendants move for dismissal under Federal Rule of Civil Procedure 12(b)(6), which

 requires an assessment of whether Hill has set forth claims upon which this Court may grant

 relief. Under the United States Supreme Court’s recent articulation of the analytic standard

 involved in applying this rule, this Court must construe the amended complaint in favor of Hill,

 accept the factual allegations contained in his complaint as true, and determine whether the

 factual allegations present plausible claims. See Bell Atlantic Corp. v. Twombly, 127 S. Ct.

 1955, 1964-65 (2007); Luckey v. Butler County, No. 1:06cv123, 2007 WL 4561782, at *1 (S.D.

 Ohio Dec. 21, 2007) (characterizing Bell Atlantic as requiring that a complaint “ ‘state a claim to


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               This Court reads the Sixth Circuit’s statute-of-limitations ruling as stating that
 December 2001, at the latest, was the date on which a prisoner’s claim began to accrue, not the
 date on which a prisoner should have filed.

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 relief that is plausible on its face’ ” (quoting In re OSB Antitrust Litigation, No. 06-826, 2007

 WL 2253419, at *2 (E.D. Pa. Aug. 3, 2007))). To be considered plausible, a claim must be more

 than merely conceivable. Bell Atlantic Corp., 127 S. Ct. at 1974; Assoc. of Cleveland Fire

 Fighters v. City of Cleveland, Ohio, 502 F.3d 545, 548 (6th Cir. 2007); Tucker v. Middleburg-

 Legacy Place, LLC, No. 1:07CV2015, 2007 WL 3287359, at *2 (N.D. Ohio Nov. 5, 2007).

 Thus, “[d]ismissal is warranted if the complaint lacks an allegation as to a necessary element of

 the claim raised.” Id. (citing Craighead v. E.F. Hutton & Co., Inc., 899 F.2d 485 (6th Cir.

 1990)). A complaint that presents only a time-barred claim is properly dismissed under Rule

 12(b)(6). Bishop v. Lucent Technologies, Inc., 520 F.3d 516 (6th Cir. 2008).

        B. Analysis

        1. Whether Cooey v. Strickland is binding on Hill.

        Hill argues that the Cooey decision is not binding on him because Hill was not a party to

 the Sixth Circuit’s decision, because Hill will not be executed under the version of the protocol

 that Cooey challenged, because the law-of-the-case doctrine does not apply to make Cooey

 binding on Hill, and because Cooey’s new rule of law cannot be retroactively applied to Hill.

 All of Hill’s arguments in this regard are unsuccessful.

        Hill seeks to challenge via 42 U.S.C. § 1983 multiple facets of the lethal injection

 protocol by which Ohio intends to execute him. In Cooey v. Strickland, the Sixth Circuit

 confirmed that a two-year statute of limitations applies to such complaints and clarified when

 those claims begin to accrue. Cooey, 479 F.3d at 416-19. The fact, as Hill argues, that “the

 government did not appeal the adverse decisions of this Court” (Doc. # 317, at 7) permitting Hill

 to intervene and granting him a preliminary injection staying his execution in no way exempts


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 Hill from the statute of limitations that the Sixth Circuit set forth in Cooey as to method-of-

 execution claims such as that advanced by Hill. Hill’s argument, extended to its illogical end,

 would mean that no rule of law would apply to any litigant unless it was expressly announced in

 that litigant’s case. Hill has not cited, and this Court is not aware of, any authority supporting

 such an argument.

        Equally untenable is Hill’s argument that Cooey is not binding on him because he will be

 executed under a different protocol than the earlier protocol that Cooey challenged. Hill argues

 that he grieved within the administrative process and challenges in this lawsuit the execution

 protocol adopted by Defendants on July 10, 2006, and that Cooey challenged “a much earlier

 protocol.” (Doc. # 317 at 7.) The Sixth Circuit has already rejected that argument. Contrary to

 Hill’s suggestion, the “protocol adopted by the defendants on July 10, 2006" actually was

 squarely before the Sixth Circuit in the Cooey appeal. Id. The Sixth Circuit expressly noted that

 the parties had submitted “supplemental briefs discussing the impact of recent changes in Ohio’s

 lethal injection protocol on the issues pending before this Court.” Cooey, 479 F.3d at 415. The

 Sixth Circuit went on to describe those “five recommendations and process changes[.]” Id. at

 423 (internal quotation marks omitted). Apparently nothing about that version of the protocol--

 or, more precisely, the slight changes that were made in 2006 to the protocol at the heart of

 Cooey and Hill’s challenges--was significant enough in the Sixth Circuit’s view to alter its

 determination that Cooey’s claim began to accrue when he was capable of discovering the

 injury, which in the Sixth Circuit’s view was, at the very latest, December 2001 when Ohio made




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 lethal injection its exclusive method of execution.2 Id. at 422.

        Thus, to the extent that Hill is arguing that his claim did not begin to accrue until July

 2006, his argument is foreclosed by the Sixth Circuit. Further, any argument by Hill that Cooey

 is somehow not binding on him because he is challenging a different protocol than that

 challenged by Cooey is disingenuous. That certainly was not Hill’s position when he sought

 leave to intervene in this action, asserting that his Eighth Amendment claim involved “precisely

 the same issues of law and fact” presented in Cooey’s action (Doc. # 29, at 1), that he was


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                 The five “recommendations and process changes” were: (1) the removal of time
 deadlines that previously dictated that executions begin by a certain hour and be completed
 within a narrow time frame; (2) a requirement that prisoners be given more in-depth medical
 examinations prior to their executions; (3) a requirement that correctional personnel make every
 effort to obtain two sites for heparin locks before proceeding to the execution chambers; (4)
 replacement of “high pressure” saline injections with a “low pressure” drip of saline to keep the
 line open and confirm its ongoing viability; and (5) a requirement that correctional personnel
 observe each inmate’s arms and check for signs of intravenous incontinence while the drugs are
 being administered. Cooey, 479 F.3d at 424. Although attention has been unduly focused on
 Cooey’s challenge to the specifics of the Ohio’s three-drug protocol, Cooey’s complaint also
 challenges facets of the lethal injection execution process beyond the three-drug protocol,
 including but not limited to, the adequacy of the training of execution-team personnel, the
 appropriateness of the equipment and methods to be used during executions, the adequacy of the
 information provided by the Ohio Department of Rehabilitation and Correction about the
 execution protocol, the adequacy of procedures governing the preparation of the drugs, the
 existence of provisions for responding to unanticipated problems or undue suffering by the
 inmate, and the lack of equipment or qualified personnel to monitor the inmate’s vital signs
 during execution. (Doc. # 2.)

         Between the time that the Sixth Circuit decided Cooey v. Strickland and the time that the
 Sixth Circuit issued the Cooey mandate, the Supreme Court decided Baze v. Rees, 128 S.Ct.
 1520 (2008). Baze made clear that, in viewing a lethal injection protocol to determine whether it
 comports with the Constitution, a court must examine multiple aspects of the protocol, not just
 the drugs that are administered. The fact that the Sixth Circuit issued the Cooey mandate even
 after the Supreme Court decided Baze signals that the Sixth Circuit did not view the changes that
 were made to Ohio’s protocol in July 2006--changes that did not relate to the three drugs that are
 administered--as significant enough to preclude its determination that Cooey and similarly-
 situated prisoners knew or could have known of the facts giving rise to their claims in December
 2001 at the latest.

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 asserting “precisely the same Eighth Amendment claim asserted by Mr. Cooey” in this action

 (Id. at 2), and that“[b]oth he and Mr. Cooey are to be executed under the state of Ohio’s official

 policy of death by lethal injection” (Id. at 3).

         Apparently conceding that Cooey’s statute of limitations ruling is the law of the case in

 which he is a plaintiff, Hill nonetheless argues that the law-of-the-case doctrine does not make

 Cooey binding on him. Hill asserts that the doctrine is inapplicable when there is new evidence,

 a subsequent contrary view of the law by the controlling authority, or where the earlier decision

 is clearly erroneous and would work a manifest injustice. Hill’s arguments miss the mark. None

 of the “exceptional circumstances” offered by Hill exist in this instance to permit this Court to

 exercise its discretion not to abide by the law of the case doctrine.

         Citing a June 10, 2008 decision by Lorain County Common Pleas Court Judge James M.

 Burge, Hill argues that “[t]here is now new law with respect to this issue.” (Doc. # 317, at 8.) In

 State v. Rivera, Judge Burge found that Ohio’s execution procedure does not provide for a quick

 and painless death as required by state law and the Fourteenth Amendment to the United States

 Constitution. Without expressing any opinion as to the soundness of any aspect of Judge

 Burge’s ruling, this Court notes simply that it is bound by the Court of Appeals for the Sixth

 Circuit and the Supreme Court of the United States, not the Lorain County Common Pleas Court.

 Hill attempts to evade this bedrock principle by noting that “federal courts have recognized that

 state courts provide controlling interpretations as to their own statutes.” (Doc. # 317, at 8.)

 Hill’s argument in this regard fails because he relies on federal habeas corpus cases to support it




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 (Doc. # 317, at 8 n.5) and this is not a federal habeas corpus case.3 Further, even assuming this

 Court were free to ignore the ruling of the Sixth Circuit in Cooey v. Strickland in order to follow

 the ruling of Judge Burge in State v. Rivera, Judge Burge’s decision does not constitute a

 “subsequent contrary view of the law” in this instance because it in no way addressed the statute

 of limitations applicable to a method-of-execution challenge brought pursuant to 42 U.S.C.

 §1983. In other words, even if Judge Burge is wholly correct, § 1983 cannot be the mechanism

 by which Hill can assert his constitutional claim.

        Nor is this Court persuaded by Hill’s argument that the law of the case doctrine does not

 require it to apply the Sixth Circuit’s Cooey decision to him because he has new evidence. Hill

 reasons:

        Dr. Mark Heath, a qualified medical practitioner has now found Ohio’s lethal
        injection infirm. Heath’s earlier opinions were not based on an understanding of
        the protocols, which had remained obscured under the cloak of administrative
        obfuscation.

 (Doc. # 317, at 8.) Hill’s argument relies on a factual assertion that the Sixth Circuit has

 explicitly rejected--namely, that Hill and similarly-situated inmates did not have sufficient

 knowledge of the facts giving rise to their complaint at the very latest in December 2001. Hill’s

 argument that Dr. Heath gleaned new information and additional facts by virtue of the State v.

 Rivera litigation is another spin on his argument that the July 2006 changes to Ohio’s lethal

 injection protocol prevented him from filing his method-of-execution challenge sooner than he


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                 The Sixth Circuit’s unfortunate remark in Cooey that this case “falls at the
 margins of habeas,” 479 F.3d at 412 (internal quotation marks and citations omitted), is not a
 blanket invitation to conflate habeas corpus principles at will, including the well established, but
 unique to habeas corpus, principle that “it is not the province of a federal habeas court to
 reexamine state-court determinations on state-law questions.” Estelle v. McGuire, 502 U.S. 62,
 67-68 (1991).

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  did. This Court has already considered and rejected that argument. Thus, none of the

  “exceptional circumstances” offered by Hill exist in this instance to permit this Court to exercise

  its discretion not to abide by the law of the case doctrine, which requires that the Court dismiss

  Hill’s complaint with prejudice as time-barred.

         A third argument offered by Hill for why Cooey v. Strickland is not binding on him is

  that “[t]he decision in Cooey is a new rule of law and cannot be applied retroactively.” (Doc. #

  317, at 9.) First, none of the cases that Hill cites stands for the proposition that retroactivity

  jurisprudence comes into play when the issue is whether to apply an appellate ruling to litigants

  in the very case in which the ruling was announced. Further, even assuming that it is appropriate

  to turn to retroactivity jurisprudence in determining whether Cooey applies to any other

  intervenor-plaintiffs in the above-styled action, Hill’s argument fails. The Sixth Circuit gave no

  indication that its ruling was to be applied only prospectively.

         2. Whether Hill’s complaint is timely under the AEDPA’s statute of limitations.

         In addition to arguing that Cooey v. Strickland’s statute of limitations ruling is not

  binding on him, Hill argues that if the statute of limitations set forth in the AEDPA is applicable,

  then his complaint is actually timely under three alternative accrual dates set forth in the AEDPA

  but not specifically addressed by the Sixth Circuit in Cooey. (Doc. # 317, at 12.) But contrary to

  Hill’s assertion, the Sixth Circuit did not “adopt” the AEDPA’s statute of limitations. Rather,

  the Sixth Circuit merely referenced the AEDPA, and the principles of comity and federalism

  underlying it, en route to announcing that method-of-execution claims begin to accrue upon

  conclusion of direct review in the state court or the expiration of time for seeking such review.

  Cooey, 479 F.3d at 421-22.


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         Further, even assuming that the Sixth Circuit “adopted” the AEDPA’s statute of

  limitations--a finding this Court expressly rejects--this Court would still find that Hill’s

  complaint is untimely under the alternative accrual dates set forth in §§ 2244(d)(1)(B)-(D). Hill

  asserts that his complaint is timely under § 2244(d)(1)(B), which gives a prisoner one year to

  file his habeas petition from the date on which the state removes an impediment to filing the

  petition; under § 2244(d)(1)(C), which gives a prisoner one year to file his habeas petition from

  the date on which a new constitutional right was recognized by the Supreme Court and made

  applicable to cases on collateral review; and under § 2244(d)(1)(D), which gives a prisoner one

  year to file his petition from the date on which the factual predicate of a prisoner’s claim could

  have been discovered through due diligence. Each of Hill’s arguments relies on assertions that

  this Court has already rejected.

         Hill asserts that the state-created impediment to the filing of his method-of-execution--

  the state’s failure to fully disclose all of the relevant information surrounding the execution

  protocol--was just recently removed via the State v. Rivera litigation in the Lorain County

  Common Pleas Court. Hill similarly asserts that he only recently discovered new facts

  supporting his method-of-execution claim when ODRC released information pursuant to the

  State v. Rivera litigation and Hill’s expert, Dr. Heath, formed new opinions questioning the

  efficacy of Ohio’s lethal injection protocol based on that information. But the Court has already

  determined--or, more precisely, the Sixth Circuit determined--that Cooey and all similarly-

  situated prisoners, including Hill, had sufficient information to file their method-of-execution

  claims at the very latest in December 2001. In arguing that his complaint is timely under §

  2244(d)(1)(C), Hill asserts that Judge Burge’s ruling in State v. Rivera, made applicable to Hill


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  via the habeas corpus principle that federal courts must defer to state court interpretations of

  state law, constitutes a new constitutional rule and that Hill therefore had two years from the date

  of that decision to file his complaint. This Court has already rejected the argument that Judge

  Burge’s ruling in State v. Rivera has any force or effect here. Further, it tests the limits of

  credulity to suggest that Judge Burge’s ruling amounts to a new constitutional right recognized

  by the Supreme Court and made applicable to cases on collateral review within the meaning of §

  2244(d)(1)(C). Hill’s arguments concerning the timeliness of his complaint under the alternative

  accrual dates set forth in the AEDPA’s statute of limitations are unavailing.

         3. Whether Hill is entitled to equitable tolling.

         Hill also argues that he is entitled to equitable tolling. This Court has previously noted

  that the Sixth Circuit’s decision in Cooey concluded in relevant part that Cooey had not timely

  filed his § 1983 complaint challenging multiple facets of the lethal injection protocol by which

  the State of Ohio intended to execute him. As noted, the Sixth Circuit reasoned that the two-year

  statute of limitations period begins to run when the plaintiff knows or has reason to know that

  the act providing the basis of his injury has occurred. 479 F.3d at 416. The Sixth Circuit

  explained that “since the ‘date’ the lethal injection protocol is imposed is infeasible, it stands to

  reason that the next most appropriate accrual date should mirror that found in the AEDPA: upon

  conclusion of direct review in the state court or the expiration of time for seeking such review.”

  Id. at 421-22. Thus, the appellate court held that such claims begin to accrue upon conclusion of

  direct review in the state courts and when the plaintiff knows or has reason to know about the act

  providing the basis of his injury. As to that latter condition, when the plaintiff knows or has

  reason to know about the act providing the basis of his injury, the Sixth Circuit offered several


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  possible dates: either when Ohio adopted lethal injection as a method of execution in 1993 or

  when Ohio made it the exclusive method of execution in 2001. Id. at 422. And as discussed

  earlier, the Sixth Circuit did not conclusively resolve that question because it concluded that

  “even under the later date, 2001, Cooey’s claim exceeds the two-year statute of limitations

  deadline because his claim was not filed until December 8, 2004.” Id.

         Nothing in the Sixth Circuit’s analysis contemplated equitable tolling of the sort Hill now

  advances or statutory tolling of the sort asserted by other plaintiffs in this litigation.4 Although

  the Sixth Circuit turned to the AEDPA to inform–but not control–its analysis of the statute-of-

  limitations accrual date, the appellate court neither adopted the provisions of that statutory

  scheme nor indicated that the case law addressing that set of statutes applies to § 1983 method-

  of-execution claims of the sort advanced here. The logical leap that Hill makes in asserting that

  the equitable tolling provisions of the AEDPA apply in this litigation is therefore unfounded.

         4. Whether Hill is entitled to conduct factual development.

         The inapplicability of the AEDPA also defeats Hill’s argument that he is entitled to

  conduct factual development or an evidentiary hearing on the statute of limitations issue. Hill

  attempts to parlay the July 8, 2008 Biros remand (Doc. # 278) into grounds supporting inferred

  permission for factual development. But Hill’s interpretation of that remand reads more into the

  action of the appellate court than is there. The Sixth Circuit’s remand targeted whether Baze v.


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             The Court also notes that a number of plaintiffs have relied expressly on the continuing
  violations doctrine in an attempt to salvage their claims. But similar to any form of tolling, the
  Sixth Circuit in Cooey did not apply this doctrine to its construction of the statute of limitations.
  By holding that a dispositive limitations period existed, the court of appeals implicitly rejected
  that the lethal injection protocol dispute presents continuing recent violations that would save the
  claims of any plaintiff in this litigation, including Hill. The appellate court simply could not
  have reached the conclusion it did in Cooey without rejecting application of the doctrine.

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  Rees, 128 S. Ct. 1520 (2008), invalidates or otherwise proves dispositive of the preliminary

  injunction that this Court formerly granted to Kenneth Biros. It did not invalidate the Cooey

  statute of limitations and does not constitute on its face or implicitly instructions to conduct the

  factfinding Hill seeks on that issue. An inquiry under Baze focuses upon the merits of the § 1983

  claims being advanced in this litigation, and the Biros remand permits this Court to reexamine

  the likelihood of success Biros has in light of the Supreme Court’s recent decision.

         5. Whether Cooey v. Strickland was wrongly decided.

         This leaves Hill’s final argument, that the Sixth Circuit panel behind the Cooey decision

  reached the wrong conclusion. The Court recognizes that this argument also cannot afford Hill

  the relief he seeks. To the extent that Hill raises once again his substantive arguments regarding

  the statute of limitations “for purposes of preservation for review” by the Sixth Circuit sitting en

  banc and by the Supreme Court (Doc. # 317, at 18), this Court again rejects those arguments for

  purposes of the record, for the reasons previously set forth in this litigation and in the Cooey

  decision.5 To the extent that Hill’s memorandum in opposition could be read as curiously

  suggesting that this Court disregard that binding appellate decision, this Court is neither able nor

  willing to do so. The Court can continue to disagree with the Cooey rationale, its conflating of §

  1983 with the AEDPA, its reliance on protocol information being available upon public request

  when that has not always appeared to be the case, and its conclusion that “the recent changes [to



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            The Court notes that the Sixth Circuit’s decision in Cooey addresses explicitly or
  implicitly the arguments Hill advances. For example, the appellate court was fully aware of
  Nelson v. Campbell, 541 U.S. 627 (2004), while deciding Cooey, but tied the statute of
  limitations for Cooey’s claim to 2001 at the latest. Hill’s reliance on the 2004 Nelson as the
  turning point in lethal injection litigation therefore relies on a date and event that the Sixth
  Circuit did not regard as controlling the accrual date. See Cooey, 479 F.3d at 422.

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  the execution protocol] do not relate to Cooey’s core complaints.”6 Cooey, 479 F.3d at 423. But

  this Court’s opinion on those issues no longer matters. Cf. Doc. # 142, at 2, Cooey v. Taft, No.

  06-4527, slip op. at 2 (6th Cir. Dec. 1, 2006) (Batchelder, J., dissenting) (“Judges may personally

  disagree with prior decisions–for good reasons or bad, or perhaps for no reason at all–but the

  integrity of the judicial system demands that courts of law adhere to those decisions or else

  provide a reasoned explanation for the refusal to do so.”). Cooey is controlling precedent with a

  dispositive rationale that the undersigned must fully recognize, credit, and apply.

                                           III. Conclusion

          For the foregoing reasons, this Court GRANTS Defendants’ Motion to Dismiss. (Doc. #

  279.)

          IT IS SO ORDERED.
                                                            /s/ Gregory L. Frost
                                                       GREGORY L. FROST
                                                       UNITED STATES DISTRICT JUDGE




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           Baze reaffirms that more than just the amount of drugs matters in method-of-execution
  challenges; the methods employed and training involved are subject to analysis as well.

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